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UNITED STATES DISTRICT COURT                             ELEC TKO\IC \I I Y FILED
SOUTHERN DISTRICT OF NEW YORK                            DOC:::
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MAJED KHALIL ,

                               Plaintiff ,

                 - against -                      21 Civ. 10248               (LLS)

FOX CORPORATION ,   FOX NEWS NETWORK LLC ,             OPINION & ORDER
and LOU DOBBS ,

                               Defendants.



     Plaintiff brought this action against Defendants for four

counts of defamation per se . Defendants move to dismiss the

complaint pursuant to Fed . R. Ci v . P . 12 (b) ( 6) for failure to state

a claim upon which relief can be granted.    For the following reasons,

the motion is denied .

                           Background
     The plaintiff in this action is Majed Khalil , a Venezuelan

businessman . Dkt . No . 1   ("Compl." ) a t , 8 . During the course of

the events giving rise to this action , he was also referred to

as " Khalil Majed Mazoud ." Id . Defendants in this case are Lou

Dobbs , Fox Corporation and Fox News Network , LLC. Defendant Lou

Dobbs is a Fox personality , who hosted the show Lou Dobbs

Tonight.   Defendant Fox News Network , LLC is wholly owned by

Defendant Fox Corporation (together "Fox" and together with

Dobbs "Defendants" ) . Id . a t , 9 . The Complaint alleges that Dobbs

was under contract with Fox during the time period when the

allegedly defamatory remarks were made .        Id .    The Complaint also

                                     - 1 -
alleges that Fox controlled multiple social media accounts

related to Lou Dobbs , including a Twitter account in Dobbs '

name , which has millions of followers . Id .

     The allegations in the Complaint stem from statements made

by Lou Dobbs and Sidney Powell on Lou Dobbs Tonight and related

Twitter posts following the 2020 election .     During the show , the

Complaint alleges that Dobbs held himself as a reporter of

facts , not opinion . Id. at 1 11 . Fox described his show as "the

#1 program on any business network among total viewers." Id .

     On November 7 , 2020 , Fox projected that President Trump

lost the 2020 Presidential Election . Id. at 1 36 .    Almost

immediately following the election , Fox news channels , which

generally cate r to a conservative audience , began to report on

theories that the election was fraudulent . Id . at 1 40 .      One

such theory of election fraud centered around two voting machine

companies , Dominion Voting Systems ("Dominion") and Smartmatic

Corporation ( " Smartmatic " ) , which were allegedly formed by

various individuals from Venezuela with the purpose of rigging

elections . See generally id. at 1 36 - 45 .

     Many of the accusations against Dominion and Smartmatic

stemmed from Sidney Powell , who appeared repeatedly as a guest

on Fox television programs , including Lou Dobbs Tonight . Id .

Powell told Fox viewers that Dominion was using software to

either flip votes from votes for then-President Trump to Joe

                                -   2 -
Biden or to simply add votes for Joe Biden . Id. at                                err   40 .

However , many prominent politicians , organizations , and

government agencies countered Powell ' s narrative of the 2020

election , referring to her theories as "insane," "a national

embarrassment ," "unhinged," and "crazy."                          Id. at    err   41 . Even

then - President Trump ' s campaign team distanced itself from her ,

stating , " Sidney Powell is practicing law on her own. She is not

a member of the Trump Legal Team. She is also not a lawyer for

the President in his personal capacity."                           Id . at   err   73 .

     Both Dominion and Smartmatic also took steps to clarify

that they were not involved in an election - rigging scheme . As

early as November 12, 2020 , Dominion began circulating a series

of emails entitled , "SETTING THE RECORD STRAIGHT : FACTS &

RUMORS " that contained links to independent sources disproving

the false claims about Dominion ' s alleged role in rigging the

election .   Id . at   err   46 . These emails were sent to Fox reporters

and producers.     Id .       A Dominion representative also spoke with

Fox Executive Editor Jay Wallace about the false information

being spread about Dominion . Id . at                    err   58 . Smartmatic emailed

with Fox Business Network and informed Dobbs '                          coordinating

producer that Smartmatic only provided software to support Los

Angeles County in the election , and not-as Fox claimed- to the

state of Georgia .           Id. at   err   60 .




                                               -   3 -
     Furthermore , several election experts in November publicly

stated that there was no credible evidence that the 2020

election was compromised through a computer alteration scheme .

Id. at   c_rr   46.

     Nonetheless , on December 10 , 2020 , the @LouDobbs account ,

run by Fox , tweeted , "the 2020 Election is a Cyber Pearl Harbor:

The leftwing establishment have aligned their forces to

overthrow the United States government #MAGA #AmericaFirst

#Dobbs ." Id . at     c_rr   88 - 90 .   In the tweet , the account posted a

document , which refers to Khalil as one of "four names" " people

need to get familiar with," and claims that Khalil is "a

Venezuelan of Lebanese origin , who is the right hand and

business front man of Jorge Rodriguez .                He has been the

effective ' COO ' of the election project , under Chavez and

Maduro . Khalil is a liaison with Hezbollah ." Id .

     The document posted further stated , "We have a warning to

the mainstream media : you have purposely sided with the forces

that are trying to overthrow the US system. These four people

and their collaborators executed an electoral 9-11 against the

United States, with the cooperation and collusion of the media

and the Democrat Party and China . It is a cyber Pearl Harbor . We

have identities, roles, and background of Dominion . Smartmatic

people . This will turn into a massive RICO filing . It is

Smartmatic , Dominion Voting Systems , Sequoia , SGO ... We have

                                             - 4 -
technical presentations that prove there is an embedded

controller in every Dominion machine ... We have the architecture

and systems , that show how the machines can be controlled from

external sources , via the internet , in violation of voting

standards, Federal law, state laws , and contracts ." Id .

     According to the Complaint , the document had no indication

that it was authored or originated from a source other than the

defendants . Id . at~ 90 . The Complaint alleges that those

statements regarding Khalil were all false . Id . at~ 91 .

     Later that day , Dobbs hosted Powell during his on - air show ,

telling viewers that Powell would discuss a "Pearl Harbor style

cyber - attack on the 2020 election ."     Id . at~ 94 .    Dobbs then

displayed a graphic with the title "Four Names You Need to Know

According to Sidney Powell," which included Khalil ' s name and

referred to him as a " Rodriguez front man ."       Id .   Dobbs asked

Powell , "you say these four individuals led the effort to rig

this election . How did they do it?" Id . at~ 95 . Powell

responded by accusing Khalil , along with three other

individuals, of having "designed and developed the Smartmatic

and Dominion programs and machines that include a controller

module that allows people to log in and manipulate the vote even

as it's happening ." Id .

     Dobbs told Powell he would "like to put up this element

from your investigation if we could have that full screen up so

                                 -   5 -
that we could all go through that with the audience. Because

it ' s important as we look at these four names , we ' re talking

about very large , a very large foreign intrusion and

interference in the , in the election of 2020. " Id . at~ 101 . At

the end of the show , Dobbs informed Powell that he would " gladly

put forward your evidence that supports your claim that this was

a cyber Pearl Harbor , we have tremendous evidence already ... of

fraud in this election but I will be glad to put forward on this

broadcast whatever evidence you have . " Id .

     After the show was broadcast , Fox and Dobbs posted videos

on Twitter with the caption that "@SidneyPowelll reveals

groundbreaking new evidence indicating our Presidential election

came under massive cyber - attack orchestrated with the help of

Dominion , Smartmatic and foreign adversaries. " Id . at~ 107 . The

Complaint alleges that no such evidence was ever revealed and

never existed .

     The Complaint alleges that none of the Defendants ever

approached Khalil to seek confirmation or denial of the claims

against him regarding election fraud .     Id . at   ~   109.




                           Legal Standards
   I.   Motion to Dismiss
   To survive a motion to dismiss under Federal Rule 12(b) (6) , "a

complaint must contain sufficient factual matter , accepted as


                                 -   6 -
true , to ' state a claim to relief that is plausible on its

face .'" Ashcroft v. Iqbal , 556 U. S . 662 , 678    (2009)

(quoting Bell Atl . Corp . v. Twombly , 550 U.S. 544 , 570 (2007)) .

The plaintiff must plead " factual content that allows the court

to draw the reasonable inference that the defendant is liable

for the misconduct alleged ." Id .

      " When evaluating a motion to dismiss , the Court must accept

all factual allegations as true and draw all reasonable

inferences in the plaintiff ' s favor . "      Ctr. for Med . Progress v .

Planned Parenthood Fed ' n of Am ., 551 F . Supp . 3d 320 , 325

(S . D. N. Y. 2021) , aff ' d sub nom. Daleiden v. Planned Parenthood

Fed ' n of Am ., No . 21 - 2068 - CV , 2022 WL 1013982 (2d Cir. Apr. 5 ,

2022) .


   II.     Judicial Notice
         Defendants ask the Court to take judicial notice of a

number of articles constituting extrinsic evidence in reviewing

their motion to dismiss . While a district court generally must

limit itself to the facts stated in the complaint or in

documents attached to or incorporated into the complaint , the

Court has discretion to take judicial notice of certain

extrinsic evidence . When determining whether a plaintiff is a

public figure in defamation cases , courts " can take judicial

notice of the existence of articles written by and about [the

plaintiff] , though not for the truth of the matter asserted in

                                   -   7   -
the documents themselves ."       See , e . g ., Biro v . Conde Nast , 963

F . Supp . 2d 255 , 271 n . 9 (S . D. N. Y. 2013) , aff ' d , 807 F.3d 541

(2d Cir . 2015).



   III. Choice of Law
     Although neither party briefs the issue , a brief choice of

law analysis is required . Federal courts sitting in diversity

apply the choice of law rules of the forum state. E . g ., Lee v.

Bankers Tr . Co ., 166 F.3d 540 , 545 (2d Cir . 1999) .         In tort

cases , including defamation cases , "New York applies the law of

the state with the most significant interest in the litigation . "

Id .   (internal citations and quotations omitted) . In weighing

interests , New York distinguishes between "conduct regulating"

and " loss allocating " rules .     Id .       " A rule that governs

defamatory or libelous conduct can be considered conduct -

regulating ." Kinsey v . New York Times Co . , 991 F . 3d 171 , 176-77

(2d Cir . 2021)    (internal citations and quotations omitted) .             If

conduct regulating rules are in conflict , New York law usually

applies the law of the place of the tort             (" lex loci delicti") .

Id .

       In light of Dobbs '   and Fox Corporation ' s domicile in New

York , New York ' s interest in regulating the conduct of its

media , the allegation that the purportedly defamatory statements

emanated from New York , the diffuse effects of the harm

Defendants ' conduct allegedly caused , and the lack of any
                                     -   8 -
allegations as to Venezuela ' s interest in policing defamation

claims , New York has a more significant interest in and

relationship to the case. See Cabello - Rondon v . Dow Jones & Co. ,

Inc ., 2017 WL 3531551 , at *3     (S . D. N. Y. Aug . 16 , 2017) , aff ' d ,

720 F. App ' x 87   (2d Cir. 2018)       (applying New York law to a

defamation case involving a Venezuelan plaintiff) . New York law

applies to this dispute .

     While New York law applies , the Court ' s decision is

"subject to applicable first amendment requirements ." L . Firm of

Daniel P . Foster , P . C . v . Turner Broad . Sys . , Inc ., 844 F . 2d

955 , 961   (2d Cir . 1988) .


   IV.  Defamation
      Under New York law , the elements of defamation are a false

statement , published without privilege or authorization to a

third party , constituting fault as judged by , at a minimum , a

negligence standard , that causes special harm or constitutes

defamation per se . E . g ., Dillon v . City of New York , 261 A . D. 2d

34 , 38 , 704 N. Y. S.2d 1 , 5 (1999) .        Whether the statements are

defamatory is a legal question for the Court. Biro v . Conde

Nast , 883 F . Supp . 2d at 456-57. However , whether a plaintiff

has actually been defamed by the statement is a question of fact

to be determined by the jury . Id .

      "In evaluating whether a cause of action for defamation is

successfully pleaded , the words must be construed in the context

                                     -   9 -
of t he entire statement or publication as a whole , tested

ag a ins t   the understanding of the average reader , and if not

reasonably susceptible of a defamatory meaning , they are not

actionable and cannot be made so by a strained or artificial

construction ." Dillon , 261 A . D. 2d at 38.

         " Under New York law ,   ' a l l who take part in the procurement ,

composition and publication of a libel are responsible in law

and equally so .'" Restis v . Am . Coal . Against Nuclear Iran ,

Inc ., 53 F . Supp. 3d 705 , 717      (S . D. N. Y. 2014 )   (quoting Brown v .

Mack , 185 Misc . 368 , 56 N.Y . S . 2d 910 , 916     (N.Y . Sup . Ct. , Kings

Cnty . 1945)) .


                               Discussion
    I.     Falsity
         Throughout the Complaint, Khalil asserts that the

statements made by defendants are false . In direct contradiction

to the statements made by Dobbs and Powell , the Complaint

alleges that Khalil did not lead the effort to rig the 2020

election , did not design and develop Smartmatic and Dominion

programs and machines to manipulate votes , did not create an

election system to benefit Venezuela and Hugo Chavez , and did

not participate in a "cyber Pearl Harbor in the 2020 election . "

The Complaint alleges that Khalil was not a political figure , a

"front man " for Rodriquez , in liaison with Hezbollah , a

col l aborator in the execution of a 9- 11 attack against the


                                     - 10 -
United States , nor a Smartmatic or Dominion employee .              The

Complaint further alleges that neither Fox , Dobbs , nor Powell

had "tremendous evidence" of Khalil ' s participation in rigging

the election in 2020."

      The Complaint sufficiently alleges falsity.


   II. Defamatory
      The gravamen of a defamation action is an injury to

reputation . A defamatory statement is one that exposes an

individual " to public hatred , shame , obloquy , contumely , odium ,

contempt , ridicule , aversion , ostracism , degradation , or

disgrace , or . .. induce[s] an evil opinion of one in the minds

of right - thinking persons ... " World Wrestling Fed ' n Ent ., Inc .

v. Bozell , 142 F . Supp. 2d 514 , 527       (S . D. N. Y. 2001)   (quoting

Celle v . Filipino Reporter Enters. Inc. , 209 F . 3d 163, 177             (2d

Cir . 2000) )   (alteration in original) .

      The statements challenged in the Complaint regarding Khalil

are defamatory . They refer to him as the "COO" of the election

fraud and describe him as the " righthand and business front man

of Jorge Rodriguez ," a "foreign adversary ," and a " liaison with

Hezbollah ."     Defendants also accused Khalil of executing "a n

electoral 9-1 1 against the United States ."

      The context of the tweets and statements on Lou Dobbs

Tonight confirms the defamatory nature of these statements .

Defendants refer to the actions Khalil allegedly helped

                                   - 11 -
orchestrate as a "Pearl Harbor style cyber-attack on the 2020

election ."

     The Complaint sufficiently alleges that the statements

regarding Khalil are defamatory.


  III. Privileges
     Defendants claim they are protected by privileges, which

make the allegedly defamatory statements inactionable, including

the Fair Report doctrine and the Neutral Report doctrine. Dkt.

No. 26 ("Mot . to Dismiss") . The First Amendment's protection of

the freedom of speech informs both doctrines . Edwards v. Nat'l

Audubon Soc. , Inc ., 556 F.2d 113, 120 (2d Cir. 1977) .

     Neither of those doctrines protect the challenged

statements in this case .


          A. Fair Report doctrine
     The Fair Report doctrine is codified in New York law . Under

Section 74 of the New York Civil Rights Law, "a civil action

cannot be maintained against any person, firm or corporation ,

for the publication of a fair and true report of any judicial

proceeding, legislative proceeding or other official proceeding,

or for any heading of the report which is a fair and true

headnote of the statement published."    N.Y . Civ. Rights Law§ 74

(McKinney) . Under Section 74, "a report of an official

proceeding that is ' fair and true' is protected by an 'absolute

privilege, ' and this privilege is 'not defeated by the presence

                               - 12 -
of mal i ce or bad faith .'" Id. ; Ctr . for Med ., 551 F . Supp. 3d at

328-29 (internal citations omitted) . Section 74 covers any

legislative proceeding ,       judicial proceeding, or other official

proceeding . Id .

       "The protections of Section 74 also extend to reports of

judicial proceedings that are mixed with commentary or opinion , "

and " courts look to the context of the statements to determine

whether a reasonable observer would find that they constitute

reports of a proceeding ." Id. Courts in New York broadly

construe the meaning of "official proceeding . " Id . The test for

determining whether something is an official proceeding "is

whether the report concerns actions taken by a person officially

empowered to do so . " Test Masters Educ . Servs ., Inc . v . NYP

Holdings , Inc .,   603 F . Supp . 2d 584 , 588   (S . D. N. Y. 2009 )

(quoting Freeze Right Refrigeration & Air Conditioning Services ,

Inc . v. City of New York , 101 A . D. 2d 175 , 182      (N.Y . App . 1st

Dep. 19 8 4) ) .

       The privilege also " extends to the release of background

material with regard to the case , so long as the statement is a

substantially accurate description of the allegation , " including

" where the description of the case is offered by a party ' s legal

counsel. " Biro , 883 F . Supp . 2d at 478      (quoting Fishof v . Abady ,

280 A . 0 . 2d 417 , 417   (2001))   (internal quotation marks omitted ) .



                                      - 13 -
       While Defendants argue that the challenged statements

constitute a report on an "ongoing investigation into electoral

fraud , seemingly at the President ' s behest ," Dkt . No.                           47   (" Opp .

Mot . to Dismiss " ) at 19 , this argument fails .                        Powell was not

working on a case in an official capacity nor on behalf of a

public agency during her investigation .                        In fact , on November

22 , 2020 , well before the December 10 , 2020 statements , the

Trump Campaign released a statement stating that " Sidney Powell

is practicing law on her own. She is not a member of the Trump

Legal Team .        She is also not a lawyer for the President in his

personal capacity ." Compl. at~ 73 .

         More damning , however , is that at no point did Dobbs or

Powell attribute the statements about Khalil to an official

investigation or a judicial proceeding . A reasonable observer

would have no grounds to believe that her statements constituted

a report of an official proceeding.


            B. Neutral Report Doctrine
       The parties dispute whether the Neutral Report doctrine

will apply in this Court . 1 However , it is unnecessary to reach




1
 Wh il e Ne w Yo r k courts have d is agreed over the appl i cability of t he Neutral
Rep o r t d o c t r i n e , t hi s Co urt " would not be bound by the expre ss ions of New
Yor k cou r ts conce r ning the issue of federal constitutional law , contrary to
th e r u l e con ce rni n g qu est ion s of s t a te l aw i n diver s ity ca se s ." L . Fi r m 844
F . 2d a t 961, n . 1 2.

                                              - 14 -
that issue because even assuming , arguendo , that the doctrine

does apply , it does not protect the Defendants in this action.

     Under the Neutral Report doctrine , "when a responsible ,

prominent organization makes serious charges against a public

figure , the First Amendment protects the accurate and

disinterested reporting of those charges , regardless of the

reporter ' s private views regarding their validity ."       Edwards ,

556 F.2d at 120. While the "Edwards opinion did not attempt

precise definition " of the Neutral Report doctrine , the Second

Circuit has provided other examples of when doctrine may apply ,

such as when "the public interest in being fully informed about

such controversies that rage around sensitive issues demands

that the press e afforded the freedom to report such charges

without assuming responsibility for them ." Cianci v . New Times

Publishing Co. , 639 F . 2d 54 , 68 - 69 (2d Cir . 1980 ) . "It is

equally clear , however that a publisher who in fact espouses or

concurs in the charges made by others or who deliberately

distorts these statements to launch a personal attack of his own

on a public figure , cannot reply on a privilege of neutral

reportage ." Id .

     The doctrine is inapplicable here . The charge on which

Dobbs and Fox News Corp were reporting was not made by a

" responsible , prominent organization , " rendering this case

distinct from Edwards . As alleged in the Complaint , Sidney

                                  - 15 -
Powell was not a responsible source . Several election experts

and government agencies had already debunked her theories of

election fraud well before the challenged statements were made .

Comp l. at~ 46 - 47 .

     Even if Defendants could successfully show that their

statements should be protected due to the public interest in

being fully informed about " sensitive issues ," they cannot avail

themselves of the doctrine because the Complaint adequately

alleges that Defendants espoused and concurred in the charges .

Although the tweet was made in close proximity with the

announcement of Sidney Powell as a guest on Dobbs '     show to

discuss the alleged election fraud , Dobbs ' two - page document

espouses and endorses the charges. The tweet continually adopts

Powell ' s views . The document states , " we now have contracts ,

program details , incriminating information and history ," "we

have identities , roles , and background of Dominion , Smartmatic

people ," " we have a warning to the mainstream media : you have

purposefully sided with the forces that are trying to overthrow

the US system. These four people and their collaborators

executed an electoral 9 - 11 against the United States , with the

cooperation and collusion of the media and the Democrat party

and China . It is a cyber Pearl Harbor . " Compl . at ~ 89 . While the

show displayed a graphic which stated "according to Sidney

Powell, " the tweet fails to attribute the two - page document to

                                - 16 -
Powell , and despite Defendant ' s argument that those who viewed

the tweet could have easily viewed the show with the displayed

graphic afterwards , the Court is not convinced that broadcast

negates the inference that Dobbs adopted Powell ' s claims given

in the tweet .

      The Neutral Report Doctrine also requires that the

cha l lenged statements be neutral and dispassionate .       See

Edwards , 556 F . 2d at 120 . The Complaint alleges facts which

support a reasonable inference that the Dobb ' s reporting was

neither accurate nor dispassionate .        Rhetoric such as " 9 - 11" and

" Cyber Pearl Harbor " is impassioned advocacy , which makes this

privilege inapplicable .

      Furthermore , as discussed below , Mr . Khalil is not a public

figure , rendering the neutral report doctrine inapplicable .

While defendants argue that Edwards should not be limited to its

facts , it would be an extension of Edwards to apply it to a

private figure .     The Second Circuit has resisted extending

Edwards to a private figure . L . Firm , 844 F . 2d at 961     ("We later

construed Edwards , in Cianci v . New Times Publishing Co ., 639

F . 2d 54 , 67   (2d Cir . 1980) , as applying this privilege to cases

involving public officials or figures . It would therefore be at

least arguably an extension of Edwards to apply it to litigation

brought by a private figure involved in a matter of public

concern , such as the Firm , and we should not address this

                                   - 17 -
constitutional question where there is an independent state

ground on which the district court judgment may be sustained.")

The Court declines to extend Edwards here as well .

  IV.     Opinion

        Defendants also argue that the statements are inactionable

opinions . Whether a statement constitutes an opinion is a matter

of law . Celle v . Filipino Rep . Enterprises Inc. , 209 F . 3d 163 ,

178 (2d Cir . 2000) .

        Several factors aid courts in determining whether a

statement constitutes an opinion : " ( 1) whether the specific

language in issue has a precise meaning that is readily

understood :   (2) whether the statements are capable of being

proven true or false;       (3) an examination of the full context of

the communication in which the statement appears ;       (4) a

consideration of the broader social context or setting

surrounding the communication including the existence of any

applicable customs or conventions which might signal to readers

or listeners that what is being read or heard is likely to be

opinion , not fact ." Id . The dispositive inquiry , under either

federal or New York law , is "whether a reasonable [reader] could

have concluded that [the articles were] conveying facts about

the plaintiff. " Gross v . New York Times Co ., 82 N. Y. 2d 146 , 152 ,

623 N. E . 2d 1163 (1993)    (alteration in the original) .



                                   - 18 -
     Dobbs ' tweets and statements used language that was precise

and readily understood , and statements in the tweets such as "we

have evidence u and " Khalil is a liaison with Hezbollahu are

capable of being proven true or false .       Taking the allegations

in the complaint as true , Dobbs was thought to be a reporter of

facts-not opinions-and the continued discussion of evidence and

affirmative statements would not indicate to a reader or

listener that Dobbs or Powell were merely stating their

opinions .

     Even if the statements were to be classified as an opinion,

they remain actionable because they constitute a mixed opinion.

A mixed opinion is a statement of opinion that "implies that it

i s based upon facts which justify the opinion but are unknown to

those reading or hearing it . . . The actionable element of a

' mixed opinion '   is not the false opinion itself- it is the

implication that the speaker knows certain facts , unknown to his

audience , which support his opinion and are detrimental to the

person about whom he is speaking .u Sorvillo v . St . Francis

Preparatory Sch. , 607 F . App ' x 22 , 24   (2d Cir . 2015)   (quoting

Steinhilber v Alphonse , 68 NY2d 283 , 290 (1986)) .

     Here , Defendants repeatedly gave the impression , at the

time of the December 10 th tweets and statements , that they

possessed unknown facts which supported their claims about

Khalil . Defendants told viewers and twitter users that there was

                                  -   19 -
"proof" and "evidence" of the claims against Khalil. Compl . at~

88 - 90.    During his show, Dobbs told the audience that "we have

tremendous evidence already ... of fraud in this election." Id. at

~   101. After the show Defendants posted the video of the

interview on twitter with the caption "@SidneyPowell reveals

groundbreaking new evidence ... " and "Evidence of Fraud ... " Id. at

107.

         Therefore , the challenged statements cannot be given the

protection afforded to formed opinions.


    V.     Degree of Fault
         Defendants also argue that Khalil must prove that the

Defendants acted with actual malice in making the defamatory

statements in order to succeed on his claims, due to his status

as a public figure or limited public figure or the application

of New York 's Anti-SLAPP law.


         A. Public Figure
         Public figures are those who,   "by reason of the notoriety

of their achievements or the vigor and success with which they

seek the public's attention , are properly classified as public

figures."      Gertz v . Robert Welch , Inc. , 418 U.S. 323, 342 , 94 S.

Ct . 2997, 3008 , 41 L . Ed. 2d 789 (1974). "Commonly, those

classified as public figures have thrust themselves to the

forefront of particular public controversies in order to



                                   - 20 -
influence the resolution of the issues involved . In either

event , they invite attention and comment. " Id .

     Khalil is a private Venezuelan citizen, who has not assumed

a role of "especial prominence in the affairs of society ," and

his role as a businessman does not invite "attention and

comment" that rises to the level of a public figure , despite

Defendants ' arguments to the contrary.      While the Court takes

judicial notice of the articles that reference Khalil, those

articles only briefly discuss Khalil and do not give him a level

of special prominence in the affairs of society.

     Dobbs ' own statements during his show and tweets confirm

that Khalil is not a public figure . When introducing Khalil to

his audience, Dobbs tweeted that Khalil ' s name was one that

"[people] need to get familiar with. " Compl. a t ! 88       (alteration

in original).

     Neither can Khalil be considered a limited public figure. A

limited public figure is one who "voluntarily injects himself or

is drawn into a particular public controversy and thereby

becomes a public figure for a limited range of issues ."         BYD Co.

Ltd . v . VICE Media LLC, 531 F . Supp. 3d 810 , 819 (S . D. N. Y.

2021) , aff ' d , No. 21-1097, 2022 WL 598973 (2d Cir. Mar. 1 ,

2022) . In the Second Circuit , in order to hold the plaintiff to

be a limited- purpose public figure "a defendant must show the

plaintiff has :   (1) successfully invited public attention to his

                                 - 21 -
views in an effort to influence others prior to the incident

that is the subject of litigation ;          (2) voluntarily injected

himself into a public controversy related to the subject of the

litigation ;   (3)   assumed a position of prominence in the public

controversy ; and (4) maintained regular and continuing access to

the media. "   Lerman v. Flynt Distrib . Co. , 745 F . 2d 123 , 136-37

(2d Cir . 1984) ; Biro , 963 F . Supp . 2d at 270 .

     Khalil did not draw public attention to his views to

influence others regarding the election of 2020 nor insert

himself into a public controversy related to the defamatory

statements against him .      He only became involved in the

conversation because of the statements by Dobbs and Powell . He

has not maintained regular and continual access to the media.

     He is not a limited public figure .

     B. New York Anti-SLAPP
     Under Section 76 - a of the New York Civil Rights law , the

actual malice standard applies to a defamation claim based upon

a statement "in connection with an issue of public interest , or

in furtherance of the exercise of the constitutional right of

petition ." N. Y. Civ . Rights Law §76 - a(l) (a) , (2)    (McKinney) .   The

" law further provides that ' public interest '        ' shall be construed

broadly and shall mean any subject other than a purely private

matter .'" N. Y. Civ . Rights Law §76 - a(l) (a) ; e . g ., Aristocrat

Plastic Surgery , P . C. v. Silva , 206 A . D. 3d 2 6 , 29 , 169 N.Y . S . 3d


                                    - 22 -
272 , 274    (2022) .   Plaintiff ' s claim that the Anti - SLAPP cannot

apply to defamation cases lacks support in the law.             Id .

(applying the Anti - SLAPP standard to defamation claims) . The

election of 2020 was clearly a matter of public interest , and

the New York Anti - SLAPP law applies . The r efore , Khalil must show

actual malice .


      C. Actual Malice
      To adequately pled actual malice , the plaintiff must show

that a fa l se statement of fact was made " with the knowledge that

the statement was false or with reckless disregard to whether or

not it was true ." Harte - Hanks Commc ' ns , Inc . v . Connaughton , 491

U. S . 657 , 667    (1989)   (quoting Hustler Magazine , Inc . v . Falwell ,

485 U. S . 4 6 , 56 ,   (1988)) . To satisfy the "reckless disregard "

standard , a defendant must have made the false publication with

a " high degree of awareness of ... probable falsity ," or must

have "entertained serious doubts as to the truth of his

publication ." Id .      (quoting Garrison v . Louisiana , 379 U. S . 64 ,

7 4 ( 1 964) )   ( internal quotation marks omitted) . While mere

al l egations of negligence or "failure to investigate " are not

enough to meet the actual malice standard , "the purposeful

avoidance of the truth is in a different category ." Harte - Hanks

Commc ' ns , 491 U. S . at 692 .

       " The Supreme Court has provided several factors to consider

when determining whether a speaker acted with actual malice :            (1)

                                      - 23 -
whether a story is fabricated or is based wholly on an

unverified , anonymous source ,     (2) whether the defendant ' s

allegations are so inherently improbable that only a reckless

person would have put them in circulation , or ( 3) whether there

are obvious reasons to doubt the veracity of the informant or

the accuracy of his reports ." Karedes v . Ackerley Grp. , Inc .,

423 F . 3d 107, 114-15 (2d Cir. 2005) ; Church of Scientology Int'l

v . Behar, 238 F.3d 168 , 174     (2d Cir . 2001)   (citing St . Amant v .

Thompson , 390 U. S . 727 , 732   (1968)) . This analysis typically

requires discovery . Id .

     Here , Defendants repeatedly maintained their claims about

Khalil long after Powell ' s election fraud theories were

challenged .   Numerous reports that declared the falsity of the

claims against Dominion and Smartmatic and rejected Powell as an

accurate source of information gave Defendants reasons to doubt

Powell ' s veracity and the accuracy of her reports .        While the

complaint does not allege that the Khalil himself informed

Defendants of the falsity of the claims against him , both

Smartmatic and Dominion did so .       Falsity of the claims against

both companies would necessitate falsity of the claims against

Plaintiff .    Several government agencies stated that there was no

evidence of fraud in the election , and even then-President Trump

supporters rejected Powell ' s accusations .



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         While Defendant 's failure to seek Khalil ' s comment on the

statements standing alone is not enough to meet the actual

malice requirement. However , the Complaint adequately alleges

that the defendants purposefully avoided the truth , given the

amount of public information regarding the lack of fraud in the

election .

         Plaintiffs have alleged enough facts in the complaint to

survive a motion to dismiss and obtain discovery.


  VI.      Liability of Fox
         Defendants argue that defamation claims against Fox must be

dismissed because Fox is not liable for the statements made by

Dobbs and Powell .      However , "a corporation may be held liable

for defamatory utterances made by its officer or agent, acting

within the scope of [her] authority ."        Mirage Ent. , Inc . v . FEG

Entretenimientos S . A. , 326 F . Supp . 3d 26 , 36    (S . D. N . Y.

2018) (alteration in the original) ; Unker v. Joseph Markovi ts ,

Inc .,    643 F. Supp . 1043 , 1049 (S . D. N. Y. 1986) ; see Genesis Int'l

Holdings v . Northrop Grumman Corp ., 238 F . App ' x 799 , 802         (3d

Cir . 2007)     ("Generally , an employer is liable for intentional

torts , including defamation , committed by its employees within

the scope of their employment ." ) The question of authority is a

factual one.      Unker v . Joseph Markovits , Inc. , 643 F . Supp .

1043, 1049 (S . D. N . Y. 1986) .




                                    - 25 -
     And it is a familiar principle of law that one who "repeats

a defamatory statement is responsible for the resulting

damages ." L . Firm , 844 F . 2d at 960 . Geraci v . Probst , 15 N. Y. 3d

336 , 342 , 938 N. E . 2d 917 , 921   (2010) .

      Dobbs made the various statements regarding Khalil during

the course of his employment at Fox News .             Taking the

allegations in the Complaint as true , Fox also had control over

the twitter accounts from which many of the statements were

first made , in addition to posting the video clips tweets to a

general Fox twitter account. Fox executives were on notice that

the allegations against regarding election rigging by Dominion

and Smartmatic were false after the receipt of several emails

from Dominion and Smartmatic and conversations with Dominion .

      The Complaint adequately alleges that Fox may be held

liable for the defamatory claims .


                                 Conclusion

The motion to dismiss is denied .

      So ordered .

Dated:      New York , New York
            September 2..-6, 2022

                                                   ~J       L. sfra~
                                                 LOUIS L . STANTON
                                                     U. S . D.J.




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